Case 2:16-cv-00052-JRG-RSP Document 297 Filed 08/14/17 Page 1 of 8 PageID #: 14050



                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


  HUAWEI TECHNOLOGIES CO. LTD.,

        Plaintiff,

        v.
                                            Civil Action No. 2:16-cv-00052-JRG-RSP
                                            Civil Action No. 2:16-cv-00055-JRG-RSP
  T-MOBILE US, INC. and
                                            Civil Action No. 2:16-cv-00056-JRG-RSP
  T-MOBILE USA, INC.,
                                            Civil Action No. 2:16-cv-00057-JRG-RSP
        Defendants,
                                                  JURY TRIAL DEMANDED
  NOKIA SOLUTIONS AND NETWORKS US
  LLC, NOKIA SOLUTIONS AND
  NETWORKS OY,
  TELEFONAKTIEBOLAGET LM ERICSSON,
  and ERICSSON INC.

        Intervenors.




                            JOINT MOTION IN LIMINE
Case 2:16-cv-00052-JRG-RSP Document 297 Filed 08/14/17 Page 2 of 8 PageID #: 14051



           The parties agree that counsel and witnesses will not mention, refer to, or offer any

   evidence or argument relating to any of the following topics within the hearing of any member of

   the jury panel, either in voir dire or at any time during trial:

       1. The parties are precluded from making statements that are inconsistent with the Federal
          Judicial Center’s patent video, and from praising or criticizing the performance, reliability,
          or credibility of the USPTO or the examiners that work at the USPTO. The parties are not
          precluded from introducing evidence that a particular prior art reference was or was not
          considered during prosecution of an asserted patent. The parties are also not precluded
          from arguing that an asserted claim is valid or invalid, or from making statements
          consistent with the Federal Judicial Center’s patent video.

       2. The parties are precluded from making statements referring to mock trials, jury research,
          jury consultants, or shadow juries.

       3. No party shall reference or imply problems with intellectual property protection in China
          (e.g., that China doesn’t adequately protect U.S. intellectual property)

       4. No party shall reference or imply a relationship between Huawei and the Chinese
          government.

       5. No party shall reference the military background of Mr. Ren Zhenfei, the CEO and founder
          of Huawei.

       6. No party shall refer to any party’s closure of offices or businesses in the United States.




                                                      1
Case 2:16-cv-00052-JRG-RSP Document 297 Filed 08/14/17 Page 3 of 8 PageID #: 14052



   Dated: August 14, 2017             Respectfully submitted,

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                                         2
Case 2:16-cv-00052-JRG-RSP Document 297 Filed 08/14/17 Page 4 of 8 PageID #: 14053



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                                        3
Case 2:16-cv-00052-JRG-RSP Document 297 Filed 08/14/17 Page 5 of 8 PageID #: 14054



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                                        4
Case 2:16-cv-00052-JRG-RSP Document 297 Filed 08/14/17 Page 6 of 8 PageID #: 14055



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                                        5
Case 2:16-cv-00052-JRG-RSP Document 297 Filed 08/14/17 Page 7 of 8 PageID #: 14056



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                                        6
Case 2:16-cv-00052-JRG-RSP Document 297 Filed 08/14/17 Page 8 of 8 PageID #: 14057



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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing document has

   been served on August 14, 2017 to all counsel of record who are deemed to have consented to

   electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                   /s/ Jonathan J. Lamberson
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                                                  7
